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 5                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 6                                   AT SEATTLE

 7
       UNITED STATES OF AMERICA,
 8                           Plaintiff,
                                                        CR99-71-TSZ
 9         v.
                                                        MINUTE ORDER
10     KAREY D. GALLERSON,
11                           Defendant.

12
        The following Minute Order is made by direction of the Court, the Honorable
13 Thomas S. Zilly, United States District Judge:
            (1)    Defendant’s Motion to Discharge Defendant Gallerson from Further
14
     Restitution Liability, docket no. 57, is DENIED.
15          (2)   The Clerk is directed to send a copy of this Minute Order to all counsel of
     record.
16
            Dated this 19th day of June, 2017.
17

18                                                   William M. McCool
                                                     Clerk
19
                                                     s/Karen Dews
20                                                   Deputy Clerk

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     MINUTE ORDER - 1
